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P|aintiff,

VS.
CR. NO. 05-20076-B

RlTA VV|LL|A|V|SON, DEBRA FRANKL|N,
TONY WlLL|AMS,

Defendants.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PERIOD OF EXCLUDABLE DEL_AY
AND SETT|NG

 

This cause came on for a report date on |Vlay 31 , 2005. At that time, counsel for the
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 With a
report date of Mondav, Ju|v 25l 2005, at 9:30 a.m., in Courtroom 1. 11th Fioor ot the

Federa| Bui|ding, Memphis, TN.
The period from June 17, 2005 through August 12, 2005 is excludable under 18

U.S.C. § 31 61 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a eedy trial.
|T |S 80 ORDERED this § day of June, 2005.

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J. A |EL BREEN
U |T STATES D|STR|C JUDGE
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Notice of Distribution

This notice confirms a copy of the document docketed as number 44 in
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June 3, 2005 to the parties listed.

 

 

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Honorable J_ Breen
US DISTRICT COURT

